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                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND


  ALJANAL CARROLL, et al.,            )
                                      )                 Civil Action No. 1:22-cv-00051-ELH
                          Plaintiffs, )
      v.                              )                 Hon. Ellen L. Hollander
                                      )
  WALDEN UNIVERSITY, LLC, et al.,     )
                        Defendants. )
                                      )


                           DEFENDANTS’ MOTION TO DISMISS

       Defendants Walden University, LLC and Walden e-Learning, LLC (together, “Walden”),

by and through their undersigned counsel, hereby respectfully move this Court for an Order

dismissing Plaintiffs Aljanal Carroll, Claudia Provost Charles, and Tiffany Fair’s (“Plaintiffs’”)

Complaint. Specifically, and for the reasons stated in Walden’s contemporaneously filed

Memorandum of Law in Support of Its Motion to Dismiss, Walden respectfully requests

dismissal under Federal Rule of Civil Procedure 12(b)(6) (“Rule 12(b)(6)”) for failure to state a

claim upon which relief can be granted with respect to Plaintiffs’ class claims; and Walden

further respectfully requests dismissal under Federal Rule of Civil Procedure 12(b)(1) for want

of subject matter jurisdiction and under Rule 12(b)(6) for failure to state a claim upon which

relief can be granted with respect to Plaintiffs’ individual claims.



Dated: March 23, 2022                             Respectfully submitted,

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                              and Walden e-Learning, LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of March, 2022, copies of Defendants’ Motion to

Dismiss were served to Plaintiffs’ counsel of record electronically via CM/ECF and courtesy

copies will be provided to the Court within 48 hours of filing.


                                                 /s/ Andrew D. Prins
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